AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                    Eastern District
                                                  __________         of of
                                                              District  Wisconsin
                                                                           __________


                Michael Langenhorst, et al.                        )
                             Plaintiff                             )
                                v.                                 )      Case No.     1:20-cv-01701-WCG
                     Laurie Pecore, et al.                         )
                            Defendant                              )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Proposed Intervenor Defendants Wisconsin State Conference NAACP et al.                                               .


Date:          11/16/2020
                                                                                             Attorney’s signature


                                                                                             Jon Greenbaum
                                                                                         Printed name and bar number
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